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 2
                          UNITED STATES DISTRICT COURT
 3
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 4

 5

 6   UNITED STATES OF AMERICA,
                                              1:08-CR-00212 OWW
 7                         Plaintiff,
                                              ORDER RE JUROR REIMBURSEMENT
 8                   v.
 9   HARJEET MANN, et al.,
10
                          Defendants.
11

12
          Circumstances beyond the control of the district court
13
     required a last-minute change in trial schedule, necessitating a
14
     trial day on Monday June 22, 2009 and a dark day on Friday June
15
     19, 2009.    A juror otherwise eligible for reimbursement of
16
     accommodation expenses was unable to cancel a pre-paid hotel
17
     reservation for the night of June 17, 2009.         The jury
18
     administrator shall reimburse her for this reservation, as it was
19
     an expense incurred by an unavoidable and unanticipated trial
20
     schedule change.
21

22
     SO ORDERED
23
     June 17, 2009
24

25                                      ___/s/ Oliver W. Wanger___
                                             Oliver W. Wanger
26                                      United States District Judge
27

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